         Case 3:16-cr-02190-W               Document 71             Filed 02/13/17          PageID.205          Page 1 of 2

AO 2458 (CASDRev. 08/ 13) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT Co

             UNITED STATES OF AMERlCA
                                 V.
              EMILIO SOLIS-MENDOZA (2)
                                                                        Case Number:         16CR2190-W

                                                                     Gerardo Gonzalez
                                                                     Defendant's Attorney
REGISTRATION NO.                 57837298
o ­
THE DEFENDANT:
IZI pleaded guilty to count(s)         9 -15 OF THE INDICTMENT

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is ad.iudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                       Nature of Offense                                                              Number(s)
8 USC 1324(a)(l)(A)(i)                BRINGING IN CERTAIN ALIENS                                                       9 - 15




    The defendant is sentenced as provided in pages 2 through                   2           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 o Count(s)                                                    is          dismissed on the motion of the United States.

 IZI   Assessment: $700.00 ($100 per counts 9-15)-Waived



 IZI   No fine                0 Forfeiture pursuant to order filed                                               , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances .

                                                                      February 13.2017
                                                                      Date of Imposition of Se



                                                                      HON. THOMAS, ' .           HELAN
                                                                      UNITED STAt               DISTRICT JUDGE



                                                                                                                       16CR2190-W
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                 EMILIO SOLIS-MENDOZA (2)                                                Judgment - Page 2 of2
CASE NUMBER:               16CR2190-W

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED AS TO COUNTS 9-15 TO SERVE CONCURRENTLY TO ONE ANOTHER.




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o     The court makes the following recommendations to the Bureau of Prisons:




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
        o    at
                  ----------------- A.M.                      on
                                                                   -------------------------------------
        o    as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
        o    on or before
        o    as notified by the United States Marshal.
        o    as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

        Defendant delivered on                                           to
                                                                              -------------------------------
 at
      ------------------------ , with a certified copy of this judgment.

                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL




                                                                                                           16CR2190-W
